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May 29, 2019

VIA ECF

Honorable Jesse M. Furman
United States District Court
Southern District of New York
40 Centre Street, Room 2202
New York, New York 10007

Re: — Jessica Denson (“Plaintiff”) v. Donald J. Trump for President, Inc. (“Campaign”)
Docket No. 18-cv-2690 (JMF)

Dear Judge Furman:

We are counsel for the Campaign and write to request that Your Honor deny Plaintiff's
letter motion, which seeks leave to file a supplemental brief in connection with the parties’
respective motions to confirm and vacate the arbitral awards that were rendered in favor of the
Campaign. See ECF Doc. No. 29-41.

As an initial matter, the parties’ motions were fully-briefed and submitted to this Court
more than four months ago on January 24, 2019. In the interim, nothing extraordinary has occurred
to warrant Plaintiff filing a supplemental brief for no discernable reason other than to raise
additional public policy arguments she could have raised in her underlying cross-motion. Indeed,
Plaintiff cites to no change in the law or new evidence that has any impact whatsoever on the
public policy arguments she has already made (or the new arguments she purports to make in her
proposed supplemental brief). See e.g. Jackson v. Goord, 664 F.Supp.2d 307, 314 (S.D.N.Y. 2009)
(denying request to file supplemental brief where defendants did not “cite any change in the law
or new evidence that was unavailable to them at the time of their original motion”).

Plaintiff's confusing references to her recently filed class action arbitration—which the
Campaign has opposed because it is barred by the doctrines of res judicata and collateral
estoppel—are misplaced as the Campaign’s estoppel defenses bear no logical nexus to the
additional public policy arguments Plaintiff seeks to raise in her proposed supplemental brief.!

For all of these reasons, it is respectfully requested that Plaintiff's request be denied and
stricken in its entirety.

   
 
 

ctiylly submitted,

wrence’S. Rosen

 
 

cc: David K. Bowles, Esq. (via email and ECF)
Maury Josephson, Esq. (via email and ECF)

 

' To clarify, after Plaintiff filed her class action arbitration, the Campaign filed a motion before Judge Kehoe—the
AAA arbitrator who presided over the Campaign’s arbitration and rendered the two arbitral awards in the Campaign’s
favor—asking that he dismiss the class action. Judge Kehoe issued a short form order that simply indicated that he

did not have jurisdiction to hear the motion.
